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 6
                                 UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF NEVADA
 8   UNITED STATES OF AMERICA,                                  Case No.: 2:20-mj-571-BNW

 9                  Plaintiff,                                  Stipulation to Extend Deadlines to
                                                                Conduct Preliminary Hearing and
10          v.                                                  File Indictment (Second Request)

11   WIL ALFREDO MUNDO-RAMIREZ,
      a.k.a. WILL ALFREDO MUNDO-RAMIREZ,
12

13                 Defendant.

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            IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
15
     Trutanich, United States Attorney, and Kimberly M. Frayn, Assistant United States
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     Attorney, counsel for the United States of America, and Russ Marsh, Esq., counsel for
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     Defendant WIL ALFREDO MUNDO-RAMIREZ, that the Court reschedule the October
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     26, 2020, preliminary hearing in this case for no earlier than 90 days from the date of the
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     filing of this stipulation. This request requires that the Court extend two deadlines: (1) that a
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     preliminary hearing be conducted within 14 days of a detained defendant’s initial
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     appearance, see Fed. R. Crim. P. 5.1(c); and (2) that an information or indictment be filed
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     within 30 days of a defendant’s arrest, see 18 U.S.C. § 3161(b).
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            This stipulation is entered into for the following reasons:
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1            1.       The United States Attorney’s Office has developed an early disposition

2    program for immigration cases, authorized by the Attorney General pursuant to the

3    PROTECT ACT of 2003, Pub. L. 108-21.

4            2.       The early disposition program for immigration cases is designed to: (1) reduce

5    the number of hearings required in order to dispose of a criminal case; (2) avoid having

6    more cases added to the court’s trial calendar, while still discharging the government’s duty

7    to prosecute federal crimes; (3) reduce the amount of time between complaint and

8    sentencing; and (4) avoid adding significant time to the grand jury calendar to seek

9    indictments in immigration cases, which in turn reduces court costs.

10           3.       The preliminary hearing is currently scheduled for October 26, 2020.

11   However, the defendant has accepted the government’s plea offer in this case that requires

12   defendant to waive specific rights and hearings, in exchange for “fast-track” downward

13   departure under USSG § 5K3.1. A change of plea and sentencing hearing has been set for

14   December 2, 2020, in case number 2:20-CR-266-APG-NJK, ECF No. 16.

15           4.       Under Federal Rule of Criminal Procedure 5.1(c), the Court “must hold the

16   preliminary hearing within a reasonable time, but no later than 14 days after the initial

17   appearance if the defendant is in custody . . . .”

18           5.       However, under Rule 5.1(d), “[w]ith the defendant’s consent and upon a

19   showing of good cause—taking into account the public interest in the prompt disposition of

20   criminal cases—a magistrate judge may extend the time limits in Rule 5.1(c) one or more

21   times . . . .”

22           6.       Furthermore, under the Speedy Trial Act, 18 U.S.C. § 3161(b), “[a]ny

23   information or indictment charging an individual with the commission of an offense shall be

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1    filed within thirty days from the date on which such individual was arrested or served with a

2    summons in connection with such charges.”

3           7.      Defendant needs additional time to review the discovery and investigate

4    potential defenses to make an informed decision as to how to proceed, and to prepare for

5    the preliminary hearing, if the Court does not ultimately accept the defendant’s guilty plea

6    on December 2. Accordingly, the parties jointly request that the Court reschedule the

7    preliminary hearing in this case no sooner than 90 days from today’s date.

8           8.      Defendant is in custody and agrees to the extension of the 14-day deadline

9    imposed by Rule 5.1(c) and waives any right to remedies under Rule 5.1(c) or 18 U.S.C.

10   § 3161(b), provided that the information or indictment is filed on or before the date ordered

11   pursuant to this stipulation .

12          9.      The parties agree to the extension of that deadline.

13          10.     This extension supports the public interest in the prompt disposition of

14   criminal cases by permitting defendant to change his plea after entering into a written plea

15   agreement under the United States Attorney’s Office’s fast-track program for § 1326

16   defendants.

17          11.     Accordingly, the additional time requested by this stipulation is allowed

18   under Federal Rule of Criminal Procedure 5.1(d).

19          12.     In addition, the parties stipulate and agree that the time between today and

20   the scheduled preliminary hearing is excludable in computing the time within which the

21   defendant must be indicted and the trial herein must commence pursuant to the Speedy

22   Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), considering the factors under 18 U.S.C.

23   § 3161(h)(7)(B)(i) and (iv).

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1           13.    This is the second request for an extension of the deadlines by which to

2    conduct the preliminary hearing and to file an indictment.

3           DATED this _15th____ day of October, 2020.

4                                              Respectfully submitted,

5                                              NICHOLAS A. TRUTANICH
                                               United States Attorney
6
      /s/Russ Marsh, Esq.                      /s/Kimberly M. Frayn
7     Counsel for Defendant                    KIMBERLY M. FRAYN
      Wil Alfredo Mundo-Ramirez                Assistant United States Attorney
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1                      UNITED STATES DISTRICT COURT
2                           DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                                Case No.: 2:20-mj-571-BNW

4                  Plaintiff,                                 [Proposed] Order on Stipulation to
                                                              Extend Deadlines to Conduct
5           v.                                                Preliminary Hearing and
                                                              File Indictment
6    WIL ALFREDO MUNDO-RAMIREZ,
      a.k.a. WILL ALFREDO MUNDO-RAMIREZ,
7

8                  Defendant.

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            Based on the stipulation of counsel, good cause appearing, and the best interest of
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     justice being served; the time requested by this stipulation being excludable in computing
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     the time within which the defendant must be indicted and the trial herein must commence
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     pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), and Federal Rule of
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     Criminal Procedure 5.1, considering the factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv):
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            IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled
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     on October 26, 2020, at the hour of 2:00 p.m., be vacated and continued to ___________
                                                                                January 27, at
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     2021,
     the   at of
         hour 4:00 PM.
                 _______.
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            DATED this ___ day
                   October  19,of2020.
                                  October, 2020.
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                                                HONORABLE BRENDA N. WEKSLER
20                                              UNITED STATES MAGISTRATE JUDGE
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